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 9   Attorneys for Plaintiff
10   GENTIVA HEALTH SERVICES, INC.
11                            UNITED STATES DISTRICT COURT
12                           SOUTHERN DISTRICT OF CALIFORNIA
13
     GENTIVA HEALTH SERVICES, INC.,           Case No.: 3:19-cv-00812-JL-BLM
14
15              Plaintiff,
                                              PLAINTIFF’S NOTICE OF
16         v.                                 VOLUNTARY DISMISSAL WITHOUT
                                              PREJUDICE
17   MISSION HEALTHCARE HOLDINGS,
     INC., MISSION HEALTHCARE
18   SERVICES, LLC, MISSION
19   HEALTHCARE SERVICES, INC., and
     KATHRYN MOHNEY,
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                Defendants.
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           PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
                                            CASE NO. 3:19-CV-00812-JL-BLM
      Case 3:19-cv-00812-JM-BLM Document 7 Filed 06/03/19 PageID.48 Page 2 of 2


 1            PLEASE TAKE NOTICE THAT Plaintiff GENTIVA HEALTH SERVICES,
 2   INC., through its undersigned counsel, hereby files this notice of dismissal pursuant to Rule
 3   41(a)(1)(A)(i) of the Federal Rules of Civil Procedure. Pursuant to Rule 41(a)(1)(B), the
 4   dismissal is without prejudice.
 5
 6
     Dated: June 3, 2019                    JACKSON LEWIS P.C.
 7
 8
 9                                       By:       /s/ Adrienne L. Conrad
                                               Adrienne L. Conrad
10                                             C. Todd Van Dyke
11                                             Sapna K. Jain
12                                             Attorneys for Plaintiff
13                                             GENTIVA HEALTH SERVICES, INC.
     4837-1765-5448, v. 2
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             PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
                                              CASE NO. 3:19-CV-00812-JL-BLM
